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            IN THE UNITED STATES DISTRICT COURT
           FOR THE NORTHERN DISTRICT OF GEORGIA
                     ATLANTA DIVISION



CORECO JA’QAN PEARSON,
VIKKI TOWNSEND
CONSIGLIO; GLORIA KAY
GODWIN; JAMES KENNETH
CARROLL; CAROLYN HALL
FISHER; CATHLEEN ALSTON
LATHAM; and BRIAN JAY VAN
GUNDY,

      Plaintiffs,
                                        CIVIL ACTION FILE
v.
                                        NO. 1:20-cv-4809-TCB
BRIAN KEMP; BRAD
RAFFENSPERGER; DAVID J.
WORLEY; REBECCA N.
SULLIVAN; MATTHEW
MASHBURN; and ANH LE,

      Defendants.



                               ORDER

     The Court finds that its November 29 order partially granting

Defendants’ motion for a temporary restraining order involves a

controlling question of law as to which there is substantial ground for
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difference of opinion and that an immediate appeal from the order may

materially advance the ultimate termination of the litigation. 28

U.S.C.A. § 1292(b).

     IT IS SO ORDERED this 30th day of November, 2020.



                                  ____________________________________
                                  Timothy C. Batten, Sr.
                                  United States District Judge




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